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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION


THE GENERAL LAND OFFICE OF THE
STATE OF TEXAS, and GEORGE P. BUSH, in his
official capacity as Commissioner of the Texas
General Land Office,

                             Plaintiffs,
                                                                   No. 7:21-cv-00272
                 v.                                                Hon. Micaela Alvarez

 JOSEPH R. BIDEN, in his official capacity as
 President of the United States, et al.,

                             Defendants.




 THE STATE OF MISSOURI; THE STATE OF
 TEXAS,

                             Plaintiffs,
                                                                   No. 7:21-cv-00420
                 v.                                                (formerly No. 6:21-cv-00052)
                                                                   Hon. Micaela Alvarez
 JOSEPH R. BIDEN, in his official capacity as
 President of the United States, et al.

                             Defendants.



                                       [PROPOSED] ORDER

       Upon consideration of “Federal Government Defendants’ Motion To Dismiss The Amended

Complaint By General Land Office Plaintiffs,” it is hereby ORDERED that the Motion is GRANTED.

       IT IS FURTHER ORDERED that the complaint in The General Land Office of the State of Texas,

et al. v. Biden, et al., No. 7:21-cv-00272, is hereby DISMISSED.
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     SO ORDERED.



_________________________               _______________________________
Date                                    MICAELA ALVAREZ
                                        United States District Judge
